                            Case 3:18-cr-00260-MPS Document 8 Filed 10/15/18 Page 1 of 1



AO 442 (Rev. l1l11)     ArrestWanant
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                                                                    for the

                                                            District of Connectic

                       United States of America
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                                                                      )
                             Kimberly Roman                           )            caseNoJ
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                                                                      )
                                Defendant


                                                         ARREST WARRANT
To:        Any authorized law enforcement officer

           YOU ARE COMMANDEI) to anest and bring before                   a   United States magistrate judge without unnecessary delay
(name   of person to   be   arrested) Kimberly Roman
who is accused of an offense or violation based on the following document filed with the court:

f Indictment il                   Superseding   Indictment i Information ü                 Infotmation d Complaint
                                                                                         Supersedíng

D ProbationViolationPetition û                     SupervisedReleaseViolationPetition ÍViolationNotice D OrderoftheCourt

This offense is briefly dçscribed as follows:
  Possession with the intent to distribute, and distribution of, a mixture and substance containing a detectable amount of
  heroin, a Schedule I controlled substance, and fentanyl, a Schedule ll controlled substance, and conspiracy to do so, in
  violation of 21 U.S.C. $$ 8a1(a)(1); 8a6.




Date:           1011112018                                                             /s/ Robert A. Richardson
                                                                                                Issuíng   ffi cer's sígnalure

City and state:             Hartford Connecticut                                     Robert A, Richardson, U.S, Magistrate Judge
                                                                                                 Prínted natne and tille


                                                                   Return

          This warrant was received on          (date)   ¡",/,,,/lf           , and the person was anested on      (date)
at (ci\ and state)


Date:      /"/r/t                                                                                                 's   sigtattu'e


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